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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

   PELOTON INTERACTIVE, INC.           )
                                       )
                        Plaintiff,     )
                                       )
          v.                           )     C.A. No. 1:19-cv-1903-RGA
                                       )
   ECHELON FITNESS, LLC,               )
                                       )
                        Defendant.     )
                                       )


               DEFENDANT ECHELON FITNESS, LLC’S OPENING BRIEF
                IN SUPPORT OF ITS RENEWED MOTION TO DISMISS
                   PLAINTIFF’S PATENT INFRINGEMENT CLAIMS


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   I.     NATURE AND STAGE OF PROCEEDINGS

          In its Amended Complaint,1 Plaintiff Peloton Interactive, Inc. (“Peloton”) alleges

   Defendant Echelon Fitness, LLC (“Echelon”) (i) infringes U.S. Patent Nos. 10,322,315 (D.I.

   16-2, “the ’315 patent”), 10,022,590 (D.I. 16-1, “the ’590 patent”) and 10,486,026 (D.I. 16-3,

   “the ’026 patent”) (collectively, “the patents-in-suit”) and (ii) engaged in trademark

   infringement, trademark dilution, and false advertising. (D.I. 16).

          The patents-in-suit seek to cover the abstract idea of making competitive exercise

   classes available online. Because the patents-in-suit are directed to patent ineligible subject

   matter under 35 U.S.C. § 101, the Court should dismiss Counts I, II and III of the Amended

   Complaint with prejudice pursuant to Federal Rule of Civil Procedure 12(b)(6).

   II.    SUMMARY OF ARGUMENT

          1.      As Peloton tells it, since 2012, it has been “disrupting the fitness category” by

   offering “the Peloton Bike”: “a sleek, technologically advanced system that combines a first-

   in-class exercise bike with state-of-the-art technology that allows riders to experience live and

   on-demand cycling classes . . . from the comfort of their own homes.” (D.I. 16 at ¶ 17). And

   if the patents-in-suit claimed a “technologically advanced system,” a “first-in-class exercise

   bike,” or “state-of-the-art technology,” they may very well have been patent eligible. But as

   the specification and Amended Complaint make clear, what the patents-in-suit seek to broadly

   cover is the “from the comfort of their own homes” aspect of the story, by “re-creating” at

   home over the Internet “the same in-studio cycling class experience” offered by companies

   like Flywheel and SoulCycle. (D.I. 16 at ¶¶ 18, 23, 26 (emphasis added)).

          2.      The claims of the patents-in-suit are directed to the abstract idea of making




   1
    Peloton’s initial Complaint alleged infringement of the ’315 and ’590 patents. (D.I. 1).
   Echelon moved to dismiss on eligibility grounds. (D.I. 9, 10). In lieu of responding, Peloton
   moved to file an Amended Complaint adding the ’026 patent, which issued on November 26,
   2019. (D.I. 16). The motion was unopposed and the Court granted leave to amend. (D.I. 15).
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   competitive exercise classes available online because the focus of the claims is the resulting

   abstract idea and not any specific – let alone technologically improved – means for doing so.

   Indeed, the specification acknowledges that the problem sought to be solved is a human one –

   the accessibility to competitive cycling classes – and not a technological one.

          3.      The claims do not contain an inventive concept. The alleged improvement is

   that making the classes available online enables riders to compete “at home on their own

   schedule” and to compete “against hundreds (for a live class) or even thousands (for an on-

   demand class).” (D.I. 16 at ¶¶ 18-19). But these benefits flow from the abstract idea itself,

   which cannot supply the inventive concept. Neither the claims nor the specification reference

   anything but routine and conventional techniques for recreating the experience online.

          4.      The Complaint’s conclusory allegations regarding purported inventive concepts

   do not create fact issues because they contradict the clear intrinsic record and cannot overcome

   Peloton’s admission that its invention was “re-creating” in-studio exercise classes at home.

   III.   STATEMENT OF FACTS

          A.      The Parties

          Echelon is a fitness company headquartered in Chattanooga, Tennessee that offers

   “smart” fitness products, like the accused Echelon Smart Connect Bikes, which allow

   consumers to participate in cycling classes from their own homes. (D.I. 16 at ¶¶ 12, 68).

          Peloton, a New York-based, publicly-traded company, claims that it “revolutionized

   the fitness industry with its category-creating at-home cycling bike, the Peloton Bike.” (Id. at

   ¶¶ 11, 17). This new “category” seeks to “re-creat[e] the energetic and competitive in-studio

   cycling experience at home” by allowing users to stream classes over the Internet. (Id. at ¶ 18).

   When Echelon threatened Peloton’s alleged monopoly, Peloton filed suit.

          B.      The Patents-in-Suit

          The ’590, ’315 and ’026 patents share a common specification and issued on July 17,



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   2018, June 18, 2019, and Nov. 26, 2019, respectively.2 The ’315 patent seeks to patent the idea

   of “providing streaming and on-demand exercise classes” (i.e., making them available online).

   (’315 patent at 1:30-31). The ’026 patent seeks to patent the same abstract idea as the ’315

   patent but limited to on-demand exercise classes (i.e., archived classes). The ’590 patent seeks

   to patent the same abstract idea as the ’315 patent, but limited to field of cycling classes.

                     1.     The Patents-In-Suit Do Not Solve A Technological Problem

             The patents-in-suit make no mention of—let alone purport to solve—any technical

   challenges associated with making competitive exercise or cycling classes available online.

   Instead, the problem encountered was one of convenience: that classes at gyms and studios

   “are accessible only at specific times and locations” and therefore “unavailable to many

   potential users,” “very expensive,” and “often sell-out.” (’315 patent at 1:61-64). To avoid

   these inconveniences, the patents-in-suit disclose the idea of “providing streaming and on-

   demand exercises classes” online (id. at 1:29-31)—much like how televisions, TIVO, DVRs,

   and various streaming services allowed fans to watch sporting events at home, either live or on

   demand, or how some colleges allow classes to be taken live or on demand over the Internet.

                     2.     The Abstract Idea Is Carried Out Using Generic Components

             The specification makes clear that the patents-in-suit seek to broadly cover the idea of

   making competitive exercise classes available online using any suitable components. In fact,

   despite that the claims of the ’315 and ’026 patents are drawn to “exercise classes” generally,

   the only type of exercise class disclosed in the specification is cycling. Consistent with the

   abstract and aspirational nature of the claims, no other exercise equipment (e.g., a treadmill, an

   elliptical, or a stair climber) is even mentioned.

             Even as to the disclosed cycling embodiment, the specification does not describe any

   specialized, much less new or improved, hardware or related components.



   2
       Citations are only to the ’315 patent unless otherwise noted.

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            No new display screen. The bike may include a generic display screen that may be

   “any size” and can be “mounted directly” to the bike, “otherwise placed within the viewing

   area,” or adjusted by the user using “[v]arious mechanisms.” (’315 patent at 6:37-41 & 15-24).3

   The display screen’s function is no more specific: it may display “a range of information,” “a

   range of performance metrics,” and “a range of different controls.” (Id. at 6:42-45).

            No new user interface. The display screen may include a “user interface.” (’315

   patent at 7:1-2). The patents-in-suit do not contend the user interface is novel or that it has any

   particular design or function. Instead, the user interface “may present a variety of screens”

   (id. at 7:12-13) and “a wide range of control and informational windows” (id. at 6:50-51).

            No new sensors. Like their “in-studio” counterparts, the bikes “may be equipped with

   “various sensors” that can measure a “range of performance metrics,” such as “speed,” “pedal

   cadence,” “heart-rate,” or “any other physical characteristic.” (’315 patent at 5:46-57).

            No new computer hardware. The computer hardware is generically described as

   potentially including “digital storage, processing and communications hardware, software

   and/or one or more media input/output devices . . .” that “may be connected to or integrated

   with the stationary bike” or “wirelessly connected to the stationary bike” (id. at 5:24-32).

            No new communication network. To carry out “re-creating” “the same” in-studio

   experience at home, “[a]ccess to any appropriate communications network such as the internet

   may be used to provide information to and receive information from other stationary bikes or .

   . . a backend system or platform.”         (’315 patent at 10:29-33).       The communications

   between components may “us[e] any appropriate protocol and technology.” (Id. at 5:36-39).

                    3.     The Patents Do Not Disclose Any Specific Or Unconventional
                           Methods For Carrying Out The Abstract Idea


            The generality of the patents-in-suit with respect to the hardware also extends to the


   3
       All emphasis is added unless otherwise stated.

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   methods (or lack thereof) disclosed for achieving the desired results.

          No specific or unconventional methods for providing classes for selection. The

   patents-in-suit describe the result that the user is presented a “variety of screens” regarding

   “scheduled classes” and “the user can select among both live and archived content” (’315

   patent at 7:12-33). But the specification does not purport to disclose any unconventional or

   specific methods for providing content for selection, which is not surprising given that the

   ability to select from live or recorded video streams is routine technology on computers,

   televisions and DVRs made available via the Internet or cable providers.

          No specific or unconventional methods for providing video of the class. The

   patents-in-suit describe the result that live and archived class content is “created and stored in

   various local or remote locations and shared across the networked exercise system.” (’315

   patent at 11:14-17). But the video delivery implementation is “exemplary only” and “can be

   implemented through a variety of different system architectures . . . .” (Id. at 11:14-21).

          No specific or unconventional methods for comparing users’ performance

   parameters on a leaderboard.          The patents-in-suit describe the result of comparing

   “performance information about other users . . . on [a] leaderboard . . . that can be sorted by

   relevant performance parameters.” (’315 patent at 9:27-29). But the only details disclosed for

   achieving the result is that the “local system . . . can access . . . display information relating

   to other users either directly through a distributed platform or indirectly through a central

   platform regardless of their location” and that the “user interface” on the “local system”

   “may present one or more windows that may display to the user . . . their position on a

   leaderboard as compared to a peer group.” (Id. at 10:32-26 & 10:57-64).

          No specific or unconventional methods for synchronizing performance data.

   The patents-in-suit describe the result of providing “synchronized live and/or archived . . .

   sensor data to users over the network.” (’315 patent at 13:39-41). But the only detail


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   provided for how to perform synchronization is the use of a “start signal that serves as the

   starting time point for the data comparison” (id. at 13:60-61)—hardly unconventional given

   races and competitions routinely use “start signals” to “synchronize” the start of the event. For

   example, leaderboards in downhill skiing events compare and “synchronize” live and archived

   times from racers who received a start signal and began the race from the same starting gate.

                  4.     The Claims Of The Patents-in-Suit

          The claims of the patents-in-suit are no more specific. Independent claim 1 of the ’315

   patent, which is representative of the other claims,4 recites the following high-level steps for

   carrying out the idea of making competitive exercise classes available online:

          1. A method for displaying live and archived exercise classes comprising:

            displaying information about available live and archived exercise classes that
            can be accessed by a first user via a digital communication network on a
            display screen at a first location, wherein the first user can select either a live
            exercise class or select among a plurality of archived exercise classes;

            receiving a selection of one of the available live or archived exercise classes
            by the first user;

            outputting digital video and audio content comprising the selected exercise
            class at the first location to the first user;

            determining one or more performance parameters for the first user at the first
            location at a plurality of points in the selected exercise class;

            displaying at least one performance parameter for the first user at the first
            location on the display screen; and

            dynamically displaying one or more performance parameters for a second
            user at a second location on the display screen at the first location such that at
            least one of the performance parameters for the first user at the plurality of
            points in the selected exercise class and at least one of the performance
            parameters for the second user at the same points in the selected exercise class
            are presented for comparison on the display screen at the first location.




   4
     Courts may use representative claims to analyze patent eligibility where, as here, “all the
   claims are ‘substantially similar and linked to the same abstract idea.’” Content Extraction &
   Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1348 (Fed. Cir. 2014).


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          The remaining independent claims of the patents-in-suit are all substantially similar,

   except: (1) claim 11 of the ’315 patent is couched as a method for “providing” (not

   “displaying”) live and archived exercise classes; (2) claim 1 of ’590 patent is (i) limited to

   cycling classes and (ii) couched as a system having the generic “user interface,” input device,”

   “sensors” and “local processing system” discussed in the specification; and (3) claims 1 and 11

   of the ’026 patent are limited to the “‘archived class’ class aspects of the inventions claimed in

   the ’590 patent and ’315 patents.” (D.I. 16 at ¶ 61).5

          The dependent claims of the patents-in-suit add more conventional components or

   features. Some of the dependent claims of the ’590 patent add conventional components, like

   a stationary cycle (claim 2) and its frame, flywheel, pedals, and resistance adjusting apparatus

   (claim 3). Other dependent claims of the patents-in-suit add routine steps or functions, like

   displaying a leaderboard based on comparative performance parameters (’315 patent, claims 6

   and 16, ’590 patent, claim 15 and ’026 patent, claims 8 and 13) and synchronizing live and

   archived data for display (’315 patent, claims 7 and 17).

          C.      Allegations in the Amended Complaint

          Like the specification, the Amended Complaint concedes in-studio, cycling classes

   offered by Flywheel and SoulCycle “provide[d] a great consumer experience,” but because

   such “classes can be hard to attend,” the inventors sought to “re-create” “the same in-studio

   cycling class experience” for home users. (D.I. 16 at ¶¶ 18, 23, 26 (emphasis added)).

          The Amended Complaint also portrays the “Peloton Bike” as a “visually appealing,

   sturdy, and technologically advanced exercise bike” that offers features like a “large,


   5
       The independent claims of the ’026 patent also require “synchroniz[ing]”
    the “archived performance data” for comparison with the “first user performance data.
   Although the words “synchronized” or “synchronizing” do not appear in the independent
   claims of the ’315 and ’590 patent, Peloton nonetheless alleges that, “for an archived class,”
   the independent claims of the ’315 and ’590 patent implicitly require that the archived
   performance data be “time-shifted” (i.e., synchronized) (D.I. 16 at ¶ 55). For purposes of this
   motion only, Echelon has accepted Peloton’s claim constructions as correct.

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   sweatproof, wi-fi enabled, high-definition touchscreen tablet computer,” and an “attractive

   graphical user interface.” (Id. at ¶ 29). But Peloton’s commercial bike is not the focus of the

   § 101 inquiry, and none of these features appear in the claims. Indeed, none of the independent

   claims require a bike and the claims of the ’315 and ’026 patents are not even limited to cycling.

          Recognizing that the patents-in-suit are on tenuous patent-eligibility footing, the

   Amended Complaint attempts to create fact issues where none exist, by alleging that the patent

   claims incorporate “inventive concepts” including (i) the ability to “select from . . . available

   live and archived classes” over the Internet (D.I. 16 at ¶¶ 49-52, 61); (ii) track the performance

   of live and remote users and comparing them at the same point in the class (id. at ¶¶ 53, 54);

   (iii) “synchronizing” archived performance data and live data for comparison “at the same point

   in the selected cycling class” (id. at ¶¶ 55, 62) including via “a start signal indicating a starting

   point of the cycling class” (id. at ¶ 58).

          But as discussed above, the specification does not describe any specific means for

   carrying out these functions, let alone new or unconventional ways of doing so. This is not

   surprising given Peloton’s goal was merely to “re-create” “the same” existing in-studio class

   experience at home. (Id. at ¶¶ 18, 23, 26). Nor does the specification contend that Peloton

   invented new or unconventional methods for creating a leaderboard or comparing competitor

   performance metrics at the same point in a competition. (See § III(B)(3), supra). Those are

   well-known concepts that have been employed in sporting events for decades, such as cycling

   and road races (ranking and showing relative times for competitors who started a race at the

   same starting point), skiing (comparing splits at different points in the race for skiers who

   started at the same point but at different times), and swimming (ranking and comparing the

   times of swimmers in different heats at the same points in their respective races).

           D.     Related Litigations and Inter Partes Review Proceedings

          Peloton has asserted the patents-in-suit against Flywheel Sports, Inc. in Civil Action



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   Nos. 2:18-cv-390 (in which the ’315 patent was asserted) and 2:19-cv-317 (in which the ‘590

   patent was asserted), both of which are pending in the Eastern District of Texas. In the former

   case, Magistrate Judge Payne recently recommended that a motion to dismiss challenging the

   patent eligibility of the ’315 patent be denied. Report and Recommendation (“R&R”) at 1,

   Peloton Interactive, Inc. v. Flywheel Sports, Inc., No. 2:18-cv-390 (E.D. Tex. Sept. 5, 2019),

   D.I. 108 (attached hereto as Ex. A).6 Flywheel’s objections to the R&R are pending.

          Flywheel has filed IPR petitions challenging the validity of the ’315 patent and three

   related patents to which it claims priority. The Patent Trial and Appeal Board instituted IPR

   proceedings with respect to the three related patents, U.S. Patent Nos. 9,174,805 (IPR2019-

   00294); 9,233,276 (IPR2019-00295); 9,861,855 (IPR2019-00564), and an institution decision

   on the ’315 patent IPR petition (IPR2019-01411) is expected by mid-February 2020.

   IV.    ARGUMENT

          A.      Legal Standards Governing Echelon’s Motion To Dismiss

          Patent-ineligibility under § 101 “may be, and frequently has been, resolved on a Rule

   12(b)(6) or (c) motion” where there are no relevant factual disputes. SAP Am., Inc. v. InvestPic,

   LLC, 898 F.3d 1161, 1166 (Fed. Cir. 2018) (collecting cases). “[W]here the specification

   admits the additional claim elements are well-understood, routine, and conventional, it will be

   difficult, if not impossible, for a patentee to show a genuine dispute.” Berkheimer v. HP Inc.,


   6
     The R&R concluded, based on statements in the specification and Second Amended
   Complaint that the claimed invention solved availability problems associated with in-studio
   cycling classes, that “questions of fact remain as to whether the claimed invention as a whole
   is directed to well-understood, routine, and conventional activities.” (R&R at 4 (emphasis
   added)). But the Federal Circuit has instructed that “the relevant inquiry is not whether the
   claimed invention as a whole is unconventional or non-routine,” because the step two analysis
   must focus on “whether the claim limitations other than the invention’s use of the ineligible
   concept” supply an inventive concept. BSG Tech LLC v. Buyseasons, Inc., 899 F.3d 1281,
   1290 (Fed. Cir. 2018) (emphasis added). Thus, the R&R is contrary to law for at least the
   reason that solving the in-studio cycling unavailability problem by making classes available
   online is the abstract idea, and “a claimed invention’s use of the ineligible concept to which it
   is directed cannot supply the inventive concept.” Id.


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   890 F.3d 1369, 1371 (Fed. Cir. 2018) (denial of rehearing en banc).

          Here, applying the two-step framework set forth in Alice Corp. v. CLS Bank

   International, 573 U.S. 208 (2014), the asserted claims are patent ineligible because they (1)

   are directed to the abstract idea of making competitive exercise classes available online, and

   (2) recite only admittedly-conventional elements that do not provide an “inventive concept.”

              B. The Claims Of The Patents-in-Suit Are Directed To The Abstract Idea Of
                 Making Competitive Exercise Classes Available Online

          In this case, one need not search for a “brick and mortar” analog to confirm the claims

   are “directed to” an abstract idea, as the Amended Complaint admits the inventors’ goal was

   to “re-creat[e]” “the same in-studio cycling class experience” at home, by making the classes

   available online. (D.I. 16 at ¶¶ 18, 26) (emphasis added). The patents-in-suit should be found

   “directed to” an abstract idea because their “focus” is on the “result” of making competitive

   exercise classes available online and not any “specific means” for achieving that result. See

   Two-Way Media Ltd v. Comcast Cable Commc’ns, LLC, 874 F.3d 1329, 1337 (Fed. Cir. 2017).

                  1.     Legal Standards Governing Step One Of The Alice Analysis

          At Alice step one, courts ask whether the claims are, at root, “directed to” an abstract

   idea. 573 U.S. at 218. “The ‘abstract ideas’ category embodies ‘the longstanding rule that an

   idea of itself is not patentable.’” Id. The abstract idea exception applies “to prevent patenting

   of claims that abstractly cover results where ‘it matters not by what process or machinery the

   result is accomplished.’” McRo Inc. v. Bandai Namco Games Am. Inc., 837 F.3d 1299, 1312

   (Fed. Cir. 2016). In analyzing step one, courts consider “whether the claims in the patent focus

   on a specific means or method, or are instead directed to a result or effect that itself is the

   abstract idea and merely invokes generic process and machinery.” Two-Way Media, 874 F.3d

   at 1337. The Federal Circuit has also found it “relevant to ask whether the claims are directed

   to an improvement to computer functionality versus being directed to an abstract idea.” Enfish,

   LLC v. Microsoft Corp., 822 F.3d 1327, 1335 (Fed. Cir. 2016).


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          While the “directed to” inquiry must focus on the claims, the Federal Circuit has also

   “found the specification helpful in illuminating what a claim is ‘directed to’” insofar as it

   describes “‘the problem facing the inventor’ and, ultimately, what the patent describes as the

   invention.” ChargePoint, Inc. v. SemaConnect, Inc., 920 F.3d 759, 766-67 (Fed. Cir. 2019).

   Moreover, a specification’s failure to disclose “technical details for the tangible components”

   may suggest those components are “merely ‘conduit[s] for the abstract idea.’” Id. at 767.

                  2.     The Asserted Claims Are “Directed To” An Abstract Idea

          The claims of the patents-in-suit are directed to a quintessential abstract idea: taking

   pre-existing exercises classes and making them available online. Exercise classes are a form

   of “organizing human activity,” an oft-cited category of abstract ideas. See In re TLI Commc’ns

   LLC Patent Litig., 823 F.3d 607, 613 (Fed. Cir. 2016) (“[W]e we have applied the “abstract

   idea” exception to encompass inventions pertaining to methods of organizing human

   activity.”); BSG Tech, 899 F.3d at 1285 (“[W]e view well-established ‘methods of organizing

   human activity’ as abstract.”). Patent claims, such as the present, that take a pre-existing

   method of organizing human activity and apply it on a computer or over the Internet, have been

   found directed to an abstract idea in a wide array of fields. See, e.g., ChargePoint, 920 F.3d at

   770 (claims “add[ing] networking capabilities to existing charging stations to facilitate various

   business interactions” invalid under § 101); Intellectual Ventures I LLC v. Symantec Corp., 838

   F.3d 1307, 1317 (Fed. Cir. 2016) (method for screening messages online akin to “corporate

   mailroom” and “brick-and-mortar post office” invalid under § 101); Baggage Airline Guest

   Servs., Inc. v. Roadie, Inc., 351 F. Supp. 3d 753, 758–59 (D. Del. 2019), aff’d, No. 2019-1511,

   2019 WL 5703890 (Fed. Cir. Nov. 5, 2019) (“Coordinating and monitoring baggage delivery

   is a well-known method of organizing human activity.”).

          An inspection of the claim language reveals that “[t]he focus of the asserted claims” is

   the abstract idea of providing exercises classes over the Internet. Elec. Power Grp., LLC v.



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   Alstom S.A., 830 F.3d 1350, 1354 (Fed. Cir. 2016). Stripped of references to generic computer

   components, representative claim 1 recites the high-level steps of: (i) “displaying [over a

   network] information about available live and archived exercise classes”; (ii) “receiving a

   [user’s class] selection”; (iii) “outputting . . . the selected exercise class” content; (iv and v)

   “determining” and “displaying” a user’s “performance parameters” (speed, heart rate, etc.); and

   (vi) “dynamically displaying” and comparing a second user’s “performance parameters” “at

   the same points” in the class. (See § III(B)(4), supra). The “focus” of these high-level steps is

   the “result” of providing “live and archived exercise classes” over the Internet, not any

   specific—let alone a technologically improved—way of doing so.

          The specification is also “helpful in illuminating” what the claims are “directed to,”

   ChargePoint, 920 F.3d at 767, because it describes the problem to be solved as the

   “accessibil[ity]” of competitive, in-studio, exercises classes “only at specific times and

   locations” (’315 patent at 1:59-60)—a human convenience problem and not a technological

   one. See Affinity Labs of Tex., LLC v. Amazon.com Inc., 838 F.3d 1266, 1270 (Fed. Cir. 2016)

   (at step one, “it is often helpful to ask whether the claims are directed to ‘an improvement in

   the functioning of a computer,’ or merely ‘adding conventional computer components to well-

   known business practices’”); Broadsoft, Inc., v. CallWave Commc’ns, LLC, 282 F. Supp. 3d

   771, 781 (D. Del. 2017) (finding claims “directed to” an abstract idea where the “‘problem’

   addressed was a human unavailability problem” and not “a problem specific to telephony

   technology”). The “solution” to the unavailability problem was the abstract idea itself—

   “providing streaming and on-demand exercise classes” over the Internet (’315 patent at 1:29-

   31) to offer “the same” experience at home (D.I. 16 at ¶ 26, emphasis added).

          That the ’590 patent claims narrow the abstract idea to “cycling classes” or that the ’026

   patent claims limit the abstract idea to only “participating in an archived exercise class” does

   not save them, as “limiting an abstract idea to one field of use” does “not make the concept


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   patentable.” In re Bilski, 561 U.S. 593, 612 (2010).

          Moreover, contrary to Peloton’s allegations in the Amended Complaint (at ¶¶ 60, 67),

   that certain claims are couched as a “system” or recite “tangible” components “is not enough

   to save the claim[s] from abstractness.” Chamberlain Grp., Inc. v. Techtronic Indus. Co., 935

   F.3d 1341, 1348 (Fed. Cir. 2019) (recitations to “controller,” “interface,” and “wireless data

   transmitter” did not save claims). “It is well-settled that mere recitation of concrete, tangible

   components is insufficient to confer patent eligibility to an otherwise abstract idea.” In re TLI

   Commc’ns, 823 F.3d at 613. Here, the claims’ focus is the abstract idea of making competitive

   exercise classes available online, and the ancillary recitation of generic components— e.g., a

   “display screen,” “sensors,” or “exercise device”—“merely provide a generic environment in

   which to carry out the abstract idea.” Affinity Labs, 838 F.3d at 1260.

          As discussed above (see III(B)(3)), the specification fails to identify any technological

   problem associated with making live or on-demand exercise classes available online or any

   specific means for accomplishing the result. The claims here are directed to an abstract idea

   because they “abstractly cover[] results where it matters not by what process or machinery the

   result is accomplished,” McRo Inc., 837 F.3d at 1312, and are not “directed to an improvement

   in computer functionality.” Enfish, LLC, 822 F.3d at 1335.

          C.      The Claims Do Not Include An “Inventive Concept” Such That They
                  Cover Significantly More Than The Abstract Idea Itself

          Consistent with the goal of “re-creating” “the same in-studio” competitive exercise

   class experience at home (D.I. 16 at ¶¶ 18, 26), the patents-in-suit claim the abstract idea at a

   high level using generic components and techniques that were conventional, routine, and well

   understood. Thus, the claims lack an “inventive concept” at step two of the Alice inquiry.

                  1.      Legal Standards Governing Step Two Of The Alice Analysis

          At Alice step two, courts determine whether the other claim elements, individually or

   collectively, add “‘significantly more’” to the abstract idea—something “‘inventive’”—that is


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   “sufficient to ‘transform’ the claimed abstract idea into a patent-eligible application.” 573 U.S.

   at 221 (citations omitted). Several well-settled principles govern this inquiry.

           Application of an abstract idea using “conventional and well understood techniques”

   does not “supply an inventive concept.” BSG Tech., 899 F.3d at 1290-91; see also Baggage

   Airline, 351 F. Supp. 3d. at 761 (“reciting generic computer functions and the use of generic

   computer elements to achieve a more efficient way of ‘coordinating and monitoring baggage

   delivery’” is not an inventive concept). Similarly, “limiting the use of an abstract idea ‘to a

   particular technological environment,’” Alice, 573 U.S. at 223, or “a particular field of

   information,” SAP Am., 898 F.3d at 1169, does not render them patent eligible.

           “[A] claimed invention’s use of the ineligible concept to which it is directed cannot

   supply the inventive concept that renders the invention ‘significantly more’ than that ineligible

   concept.” BSG Tech, 899 F.3d at 1290. Accordingly, the step-two inquiry must focus on “claim

   limitations other than the invention’s use of the ineligible concept,” id. (emphasis added), and

   appending limitations that are themselves abstract does not supply an “inventive concept.” See

   SAP Am., 898 F.3d at 1168. “What is needed is an inventive concept in the non-abstract

   application realm.” Id.; see also Baggage Airline, 351 F. Supp. 3d at 761-62 (additional

   limitations requiring “selection to hold delivery” “are themselves abstract . . . and cannot

   satisfy the requirement of an ‘inventive concept’”).

          Finally, claiming a result, rather than a concrete way to achieve the result, does not

   supply an “inventive concept.” “[T]he essentially result-focused, functional character of claim

   language has been a frequent feature of claims held ineligible under § 101.” Elec. Power, 830

   F.3d at 1356; see also Affinity Labs, 838 F.3d at 1265 (ineligible claims “effectively cover any

   wireless delivery of out-of-region broadcasting content to a cellular telephone via a network”).

   A “critical difference” exists between “patenting a particular concrete solution to a problem”

   and “attempting to patent the abstract idea of a solution to the problem in general,” because the


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   overbroad functional claiming of the latter “purport[s] to monopolize every potential solution

   to the problem.” Elec. Power, 830 F.3d at 1356.

                   2.      The Asserted Claims Do Not Contain An “Inventive Concept”

           Representative claim 1 of the ’315 patent involves the following six functional steps:

   (i) “displaying [over a network] information about available live and archived exercises”; (ii)

   “receiving [a user’s] class selection”; (iii) “outputting . . . the selected exercise class” content;

   (iv and v) “determining” and “displaying” a user’s “performance parameters” (speed, heart

   rate, etc.); and (vi) “dynamically displaying” and comparing a second user’s “performance

   parameters” “at the same points” in the class. (See § III(B)(4), supra). The other independent

   claims do not materially differ, as evidenced by the Amended Complaint, which does not

   identify any distinctions effecting their eligibility. (See D.I. 16 at ¶¶ 49-55 (same inventive

   concepts alleged for the independent claims of the ’315 and ’590 patents) and ¶¶ 55, 62

   (alleging independent claims have the inventive concept of “time-shift[ing]” or

   “synchronizing” past performance data for comparison with the user’s performance data)).

           An inventive concept requires something “significantly more” than the abstract idea

   itself. Here, representative claim 1 features fall into two categories: (i) those admittedly

   embodied in existing in-studio cycling classes, and/or (ii) those that cover the abstract idea of

   making the classes available online. Neither category supplies an “inventive concept,” because

   the former is admittedly “conventional,” and the latter does not involve “limitations other than

   the invention’s use of the ineligible concept.” BSG Tech, 899 F.3d at 1290.

           As the admitted goal of the patents-in-suit was “re-creating the . . . competitive in-

   studio cycling experience at home” (D.I. 16 at ¶ 18), it cannot be disputed that the claim

   elements associated with “competitive in-studio cycling” classes, like those offered by

   Flywheel, were conventional. Indeed, Peloton admits that existing in-studio cycling classes




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   allowed a rider to “see his or her performance compared [e.g. on a leaderboard] . . . against

   riders in the same class at the same time.” (Id. at ¶ 19).

          Peloton further alleges the claimed invention improves the in-studio experience by

   enabling riders to compete “at home on their own schedule” “against hundreds (for a live class)

   or even thousands (for an on-demand class).” (D.I. 16 at ¶¶ 18-19). But these alleged benefits

   flow from the abstract idea itself, and “use of the ineligible concept . . . cannot supply the

   inventive concept that renders the invention ‘significantly more’ than that ineligible concept.”

   BSG Tech, 899 F.3d at 1290.

          Further, the result is not changed even if the claims implicitly or explicitly require live

   and archived performance data be “synchronized” (e.g., by using a start signal) so that data can

   be compared at the same point in time in a class.7 The specification does not purport to describe

   any technical challenges or new solutions to problems associated with time-synchronization

   and none are embodied in the claims. See supra § III(B)(3). This is fatal to Peloton’s

   contention that time synchronizing two pieces of data is an inventive concept. Electric Power,

   830 F.3d at 1355 (“the use of “off-the-shelf, conventional computer, network, and display

   technology for gathering, sending, and presenting the desired information” is not an inventive

   concept). Indeed, on nearly identical facts, the Federal Circuit held that the use of off-the-shelf

   conventional technology for “‘displaying concurrent visualization’ of two or more types of

   information, even if understood to require time-synchronized display” is not an inventive

   concept. Id. (emphasis added); see also Ameranth, Inc. v. Domino’s Pizza, LLC, 2019 WL

   5681315, at *6 (Fed. Cir. Nov. 1, 2019) (“real-time synchronization” feature implemented

   using convention steps is not an inventive concept).


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    See D.I. 16 at ¶ 55 (alleging that the independent claims of the ’315 and ’590 patents implicitly
   require archived performance data be “time-shifted” for comparison with “the user’s own
   performance parameters”) and ’026 patent, claims 1 and 11 (explicitly requiring archived
   performance data be synchronized for comparison with the “first user performance” data).


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           Finally, while the Amended Complaint attempts to bolster the eligibility argument by

   painting a story of “a long, iterative process to develop a successful hardware-software

   integration” (D.I. 16 at ¶ 33), the specification fails to describe either any technical challenges

   faced by the inventors or any particular way of making exercise classes available online. Even

   more problematic, “[t]o save a patent at step two, an inventive concept must be evident in the

   claims,” RecogniCorp, LLC v. Nintendo Co., 855 F.3d 1322, 1327 (Fed. Cir. 2017), and the

   claims here do not cover any “unique hardware-software.” In short, Peloton could have sought

   to describe and claim its “successful hardware-software integration” but chose instead to claim

   broadly the abstract idea of making competitive exercise classes available online.

           The ChargePoint decision is instructive.         There, the patentee sought to address

   shortcomings associated with car charging stations by adding network connectivity.            This

   connectivity “allow[ed] the stations to be managed from a central location, allow[ed] drivers

   to locate charging stations in advance, and allow[ed] all users to interact intelligently with the

   electricity grid.” 920 F.3d at 763. ChargePoint alleged that it was first to conceive of the idea

   and did so “in the face of widespread industry skepticism.” Id. But like here, “the specification

   gives no indication that the patented invention involved how to add network connectivity to

   these charging stations in an unconventional way.” Id. at 775. Accordingly, the Federal Circuit

   found that “the only possible inventive concept . . . is the abstract idea itself.” Id.

           The same result applies here. The six steps of claim 1 of the ’315 patent do no more

   than take the conventional features that were available in-studio and make them available

   online using routine and conventional techniques.

                    3.     The Amended Complaint Does Not Plausibly Allege The Claims
                           Recite An “Inventive Concept.”

           Recognizing that the patents-in-suit themselves do not identify any patent-eligible

   subject matter as novel or inventive, the Amended Complaint identifies a laundry list of alleged

   “inventive concepts” (D.I. 16 at ¶¶ 48-67) that Peloton will presumably argue create a fact issue

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   at step two of the analysis. These conclusory allegations contradict the clear intrinsic record

   and cannot overcome Peloton’s admission that its invention was “re-creating” existing in-

   studio cycling classes at home.

           First, the Amended Complaint remarkably alleges that providing both live and archived

   classes was “a significant advance[] over the prior art” because it allowed the home user to

   decide whether “to start [an archived] workout at the instant he or she wants” or “to participate

   live with other class participants.” (D.I. 16 at ¶¶ 51-52, 60). But these allegations do not

   plausibly allege an “inventive concept,” as the ability to play live or recorded video was a

   routine technology at the time of the alleged invention that had long been available via

   televisions coupled with VCRs, DVRs, or TIVO. Moreover, even if providing live or archived

   content was non-conventional (it is not), neither the claims nor specification disclose “any

   specific or concrete way” of providing live or archived content. Affinity Labs, 838 F.3d at 1258.

   Instead, the disclosure regarding video creation and distribution in the patents is described as

   “exemplary only” and “that the present invention can be implemented through a variety of

   different system architectures . . . .” (’315 patent at 11:12-21.) Finally, it does not matter

   whether providing “information about . . . archived classes” was new because the limitation is

   itself an abstract idea, and “a claim for [an allegedly] new abstract idea is still an abstract idea.”

   Synopsys, 839 F.3d at 1151.

           Next, the Complaint alleges that conventional home bikes did not have “networked

   access” to live and archived cycling classes (D.I. 16 at ¶¶ 50, 61). But making exercise classes

   available online (by adding networking capabilities to existing bikes) “is the abstract idea

   itself,” and “a claimed invention’s use of the ineligible concept to which it is directed cannot

   supply the inventive concept that renders the invention ‘significantly more’ than that ineligible

   concept.” ChargePoint, 920 F.3d at 774 (“[T]he alleged ‘inventive concept’ . . . is that the

   charging stations are network-controlled. But network control is the abstract idea itself . . . .”).


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          The Complaint also identifies as alleged “inventive concepts” tracking and comparing

   multiple users’ performance parameters (D.I. 16 at ¶¶ 53-54), including with respect to multiple

   remote users participating in an archived class (Id. at ¶ 64), and displaying them on

   leaderboards during live and/or archived classes (Id. at ¶¶ 56, 57, 65). But these allegations do

   not plausibly allege an “inventive concept,” as collecting, comparing and displaying

   performance parameters on leaderboards were conventional features of the in-studio classes

   Peloton sought to “re-create.” (Id. at ¶¶ 18, 19). In addition, neither the claims nor specification

   disclose “any specific or concrete way” of making this functionality available for users taking

   archived classes. Affinity Labs, 838 F.3d at 1258. At best, making conventional leaderboard

   technology available for archived, online classes is itself an abstract idea, and “a claim for [an

   allegedly] new abstract idea is still an abstract idea.” Synopsys, 839 F.3d at 1151.

          Still further, the Complaint alleges that certain dependent claims of the ’026 patent

   include an inventive concept because they “describe particular types of information to be

   displayed.” (D.I. 16 at ¶ 66). But “limitation of the claims to a particular field of information”

   (e.g., heartrate) cannot supply an inventive concept. SAP Am., 898 F.3d at 1169.

          Finally, the Amended Complaint makes the remarkable contention that “time

   synchronization” using a “start signal,” which serves as the synchronization point for data

   comparison, is an “inventive concept” of certain dependent claims. (D.I. 16 at ¶ 58).8 From

   pistols to flags and horns to buzzers, “start signals” have taken many forms over the years, but

   they always served one purpose—to “synchronize” the start of the event. As anyone who has

   watched the Olympics on TV can attest to, time-synchronizing live and archived performance

   data is routine in sporting events like swimming and downhill ski races, where the present



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    The Amended Complaint also alleges that certain “time-shifting”/synchronization features in
   independent claims (which do not reference a “start signal”) are inventive concepts. (D.I. 16
   at ¶ 55, 62). These generic “time-shifting”/synchronization features are not inventive concepts
   for reasons explained in the prior section. See § IV(C)(3), supra.

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   racer’s times are compared with a prior racer’s times (typically the leader’s) at the same points

   in the course. Notably, neither the claims nor the specification purport to describe any technical

   challenges or new solutions to problems associated with time-synchronization. See Broadsoft,

   282 F. Supp. 3d at 783 (“If this conversion constituted an inventive concept, one would expect

   a lengthier discussion in the patent of how to accomplish it. The lack of discussion of this

   conversion process shows that it was a routine process known to those of skill in the art at the

   time of the invention.”). Equally important, the claims fail to disclose “any specific or concrete

   way” to synchronize live and archived data, aside from the use of conventional “start” and

   “stop” signals. Affinity Labs, 838 F.3d at 1258.

                  4.      The Remaining Dependent Claims Do Not Include An “Inventive
                          Concept.”

          Tellingly, Peloton does not allege any additional dependent claims include inventive

   concepts beyond those discussed above. Nor could it, as the remaining dependent claims add

   undisputedly routine and conventional elements. (See, e.g., ’590 patent, claims 2-4 (adding

   conventional cycling elements such as “a first stationary cycle” and “a pair of pedals”); ’590

   patent, claims 5-8, ’315 patent, claims 3 & 4, and ’026 patent, claim 7 (adding routine display

   elements and features such as limiting the “user interface” to a “mobile device,” displaying

   “performance parameters” in a “secondary window,” allowing “selectable content for display,”

   and outputting the display “substantially in real-time”); ’590 patent, claims 9-10, 14 & 19, ’315

   patent, claims 5 & 9, and ’026 patent, claim 6 (adding conventional hardware components

   such as a “server,” “communication components,” “hardware processor,” and “a memory

   storing instructions”); and ’590 patent, claim 13, ’315 patent, claim 10, and ’026 patent, claim

   20 (adding conventional “video chat” features)).

   V.     CONCLUSION

          For the foregoing reasons, the Court should find the claims of the patents-in-suit invalid

   under 35 U.S.C. § 101 and dismiss Counts I - III of the Amended Complaint with prejudice.


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